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                                                                                         BILL A. BUSBICE, JR., OLLA PRODUCTIONS,
                                                                                     8   LLC, and ECIBSUB, LLC
                                                                                     9                         UNITED STATES DISTRICT COURT
                                                                                    10                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                    11                                 WESTERN DIVISION
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                                                                                    13   BILL A. BUSBICE, JR., an individual;         Case No. CV 14-4077 PA (AJWx)
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                                                                                         OLLA PRODUCTIONS, LLC, a limited             consolidated with CV 14-7063 PA
                                                                                    14   liability company; and ECIBSUB, LLC,         (AJWx)
                                                                                         a limited liability company,
                                                                                    15                                                Magistrate Judge Andrew J. Wistrich
                                                                                                         Plaintiffs,
                                                                                    16
                                                                                                 v.                                   PLAINTIFFS’ RESPONSE TO
                                                                                    17                                                DEFENDANTS’
                                                                                         JAMES DAVID WILLIAMS, an                     SUPPLEMENTAL FILINGS RE:
                                                                                    18   individual; et al.,                          IN CAMERA REVIEW OF
                                                                                                                                      ALLEGEDLY PRIVILEGED
                                                                                    19                   Defendants.                  DOCUMENTS
                                                                                    20
                                                                                         AND RELATED CONSOLIDATED                     Discovery Cut-off: July 27, 2015
                                                                                    21   ACTION.                                      Trial Date: October 6, 2015
                                                                                    22
                                                                                    23
                                                                                    24
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                                                                                    28
                                                                                         25920862v1
                                                                                           PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENTAL FILINGS RE: IN CAMERA REVIEW OF
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                                                                                     1            During the May 11, 2015 hearing, this Court ordered Defendants to produce
                                                                                     2   the documents described on Defendant Barry J. Reiss’s (“Reiss”) privilege logs for
                                                                                     3   an in camera review, and permitted Defendants to file a supplemental declaration
                                                                                     4   on or before May 20, 2015 stating who attorney Reiss represented, for what, and
                                                                                     5   when, in order to assist the Court’s in camera inspection. Defendants belatedly
                                                                                     6   filed a declaration of Defendant James David Williams (“Williams”) on May 21,
                                                                                     7   2015 (Dkt. 71) and a supplemental Reiss declaration on May 22, 2015 (Dkt. 72).
                                                                                     8   Plaintiffs respectfully submit the following statement and the concurrently filed
                                                                                     9   Declaration of Thomas H. Prouty (“Prouty Decl.”) in response:
                                                                                    10
                                                                                    11   I.       THE FRAUDULENT INDUCEMENT, CONCEALMENT,
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                                                                                    12            CONVERSION, AND FRAUDULENT COVER-UP REMAIN
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                                                                                    13            COMPLETELY UNREBUTTED
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                                                                                    14            In their recent filings, Defendants could not, and did not, attempt to rebut the
                                                                                    15   mountain of hard and direct evidence presented with Plaintiffs’ motion, which
                                                                                    16   overwhelmingly establishes that Defendants conspired to, and did, steal nearly $11
                                                                                    17   million of Plaintiffs’ money. This was the worst kind of fraud. Defendants
                                                                                    18   physically created and used demonstrably phony bank records to induce the
                                                                                    19   investments, spent the wrongfully acquired money on unauthorized personal and
                                                                                    20   luxury items, and created additional phony bank records and accountings in an
                                                                                    21   attempt to conceal and cover-up the fraud. All the while, Defendants continued to
                                                                                    22   hold themselves out as Plaintiff Busbice’s trusted friends and business partners, as
                                                                                    23   the conversion continued unabated.
                                                                                    24            Defendants do not confront this evidence.
                                                                                    25            And since the May 11, 2015 hearing, the arbitrator in the Big Screen
                                                                                    26   Partners V, Ltd. v. Luxe One, Inc. arbitration issued his Final Arbitration Award,
                                                                                    27   finding, inter alia, that Defendant Williams: (a) “improperly spent” “over $5
                                                                                    28   million contributed by Busbice[,]” (b) “repeatedly gave false bank statements to
                                                                                         25920862v1                                  -1-
                                                                                              PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENTAL FILINGS RE: IN CAMERA REVIEW OF
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                                                                                     1   people connected with the Picture[,]” and (c) “spen[t] large portions of that $8
                                                                                     2   million on personal expenses.” (Ex. A to the Prouty Decl. at 3:4, 3:13, 3:27.)
                                                                                     3   Moreover, the arbitrator put it succinctly and candidly: “[a]fter viewing Williams’
                                                                                     4   demeanor throughout the proceeding, I find that his testimony is not entitled to any
                                                                                     5   credibility.” (Id. at 3:11-12.)
                                                                                     6           The fact that a massive and continuing fraud has been committed is no longer
                                                                                     7   in question.
                                                                                     8
                                                                                     9   II.     ATTORNEY REISS WAS USED BY DEFENDANTS TO CARRY OUT
                                                                                    10           AND CONTINUE THE FRAUD – AND THERE IS NO
                                                                                    11           REQUIREMENT THAT EACH (OR ANY) COMMUNICATION
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                                                                                    12           EXPRESSLY REFERENCE A PLANNED OR ONGOING FRAUD IN
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                                                                                    13           ORDER FOR IT TO BE ORDERED PRODUCED
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                                                                                    14           As previously discussed in Plaintiffs’ Reply in Support of their Motion for
                                                                                    15   Application of the Crime-Fraud Exception (“Reply Brief”), there can be no
                                                                                    16   question that Reiss was used by Defendants to further their planned and on-going
                                                                                    17   fraud. Furthermore, the crime-fraud exception applies even if Reiss had no clue of
                                                                                    18   what the Defendants were planning. (See Dkt. 66 at § 5, 9:25-13:19.)
                                                                                    19           In some cases, where it is unclear whether there was an actual planned or
                                                                                    20   ongoing fraud, it may be necessary or appropriate for the Court to carefully
                                                                                    21   examine the allegedly privileged documents for some indication of the fraud.
                                                                                    22   However, that is unnecessary here, where both the fraud and the fact that the
                                                                                    23   perpetrators used the attorney as an instrumentality of the fraud is uncontradicted
                                                                                    24   and amply established by the evidence. See, e.g., Cunningham v. Connecticut
                                                                                    25   Mutual Life Ins., 845 F. Supp. 1403, 1413-1415 (S.D. Cal. 1994) (recognizing that
                                                                                    26   “independent” evidence may establish that otherwise privileged communications
                                                                                    27   must be produced by virtue of the crime-fraud exception). In other words, although
                                                                                    28   Plaintiffs believe that at least some of the documents submitted for in camera
                                                                                         25920862v1                               -2-
                                                                                           PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENTAL FILINGS RE: IN CAMERA REVIEW OF
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                                                                                     1   review will reflect the Defendants’ conspiracy, it is not the Court’s task to find and
                                                                                     2   only order the production of those documents. Rather, all documents reasonably
                                                                                     3   related to the fraudulently induced film investments and Defendants’ post-
                                                                                     4   investment concealment and cover-up must be produced, even if some or all of
                                                                                     5   those documents themselves are seemingly innocuous and do not expressly or
                                                                                     6   clearly reflect a crime or fraud. Id.
                                                                                     7
                                                                                     8   III.    ALL OF THE APPROXIMATELY HALF OF THE
                                                                                     9           COMMUNICATIONS INVOLVING STEVEN BROWN ARE NOT
                                                                                    10           PRIVILEGED IN THE FIRST PLACE, AND SHOULD BE ORDERED
                                                                                    11           PRODUCED REGARDLESS OF THE CRIME-FRAUD EXCEPTION
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                                                                                    12           Approximately one-half of the withheld documents provided to the Court
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                                                                                    13   involve Defendant Steven J. Brown (sjbneg@gmail.com; sbjneg@aol.com). As
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                                                                                    14   discussed in the Reply Brief, Defendants’ opposition papers both admitted that
                                                                                    15   Brown was not a client of Reiss (nor an employee, officer or director of any client
                                                                                    16   of Reiss), and failed to meet Defendants’ burden of proving that Brown’s presence
                                                                                    17   in and on communications did not block the attorney-client privilege. (See Dkt. 66
                                                                                    18   at 7:1-9:23.)
                                                                                    19           Defendants’ recent filings fare no better than their opposition papers. The
                                                                                    20   only reference to Brown in the supplemental Reiss Declaration is the conclusory,
                                                                                    21   unsubstantiated and passing comment that Brown was Williams’ “business
                                                                                    22   consultant.” (Dkt. 72 at 2:13.) The recent Williams’ declaration provides little
                                                                                    23   more information, conveying only in the most conclusory fashion that “Mr. Brown
                                                                                    24   was assisting me with the movie projects and acted as a business adviser and
                                                                                    25   consultant for the companies.” (Dkt. 71 at 2:12-14.) No documentary evidence is
                                                                                    26   provided to support these bare-bones assertions.
                                                                                    27           These general and vague statements obviously come nowhere close to
                                                                                    28   satisfying Defendants’ burden of proving that Mr. Brown was retained for the
                                                                                         25920862v1                                -3-
                                                                                           PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENTAL FILINGS RE: IN CAMERA REVIEW OF
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                                                                                     1   purpose of obtaining legal advice and that his involvement was crucial to the
                                                                                     2   rendering of legal advice. (See Plaintiffs’ Reply Brief (Dkt. 66) at 9:1-7; see also
                                                                                     3   MediaTek Inc. v. Freescale Semiconductor, Inc., 2013 U.S. Dist. LEXIS 147032, at
                                                                                     4   *6, *12 (N.D. Cal. Oct. 10, 2013; United States v. Graf, 610 F.3d 1148, 1156-58
                                                                                     5   (9th Cir. 2010).)
                                                                                     6           Defendants’ obscure vagueness and deliberate evasiveness also has
                                                                                     7   manifested itself in discovery. In interrogatories, Plaintiffs asked Brown to
                                                                                     8   “[d]escribe in detail any work that [he] performed or services that [he] rendered
                                                                                     9   relating to the marketing” of the subject films, and to “[d]escribe in detail any and
                                                                                    10   all services that [he] provided to or for the benefit of” the investment entities (e.g.,
                                                                                    11   Luxe One, Inc. and Moment Factory, LLC). (Emphasis added.) (Prouty Decl., ¶ 3,
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                                                                                    12   Ex. B.) Brown’s complete response to each of these interrogatories was the same
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                                                                                    13   terse, meaningless, and anything but “detailed,” phrase: “Film distribution and
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                                                                                    14   marketing.” (Id.)
                                                                                    15           If Defendant Brown really did occupy a vital role with respect to the film
                                                                                    16   investment projects, such that his presence on communications would not prevent
                                                                                    17   the attorney-client privilege from attaching, then one would certainly expect there
                                                                                    18   to be many documents evidencing his role and the services that he rendered. There
                                                                                    19   are none, and Brown’s own statements belie Defendants’ claim.
                                                                                    20           In September 2014, Plaintiffs propounded a comprehensive set of requests
                                                                                    21   for production of documents, which required Brown and the other Defendants to
                                                                                    22   produce all documents relating in any way to the subject films and investments,
                                                                                    23   including any work performed, or services rendered, by Brown. (Prouty Decl., ¶ 4.)
                                                                                    24           Although Defendants’ counsel has represented that Defendants’ production is
                                                                                    25   complete, Defendants have produced no documents showing what Brown was
                                                                                    26   asked to do, if anything, and what he allegedly did, in connection with the subject
                                                                                    27   films and investments:
                                                                                    28                 No contracts or agreements of any kind with or involving Brown have
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                                                                                           PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENTAL FILINGS RE: IN CAMERA REVIEW OF
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                                                                                     1                   been produced, including any contract supporting the self-serving
                                                                                     2                   assertion that Brown was engaged as an “advisor” or “consultant” to
                                                                                     3                   the defendant-companies; and
                                                                                     4                 No communications (emails, text messages, letters, etc.) involving
                                                                                     5                   Brown regarding any work performed (or to be performed) by him, or
                                                                                     6                   services rendered (or to be rendered) by him, have been produced.
                                                                                     7   (Id.) It turns out that the only known documents relating to the subject films and
                                                                                     8   investments that refer to Brown are the bank records produced by JPMorgan Chase
                                                                                     9   Bank (not Brown) that show that Brown converted approximately $1 million of
                                                                                    10   Plaintiffs’ money for his own personal use and enjoyment. (See Dkt. 54 at ¶¶ 29-
                                                                                    11   38, Ex. 12.)
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                                                                                    12           As for Brown himself, he has produced next to nothing in this lawsuit, and
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                                                                                    13   what little he has produced wholly fails to support Defendants’ claim that Brown
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                                                                                    14   served as an assistant, consultant, and business advisor with respect to the film
                                                                                    15   projects and investments. (Prouty Decl., ¶ 5.) Specifically, other than a handful of
                                                                                    16   documents drafted by Plaintiffs’ lawyers that must have been forwarded to Brown
                                                                                    17   around the time the lawsuit was filed, Brown’s document production in this lawsuit
                                                                                    18   consists entirely of only twenty-five e-mails. (Id.) None of those twenty-five e-
                                                                                    19   mails indicate that Brown performed work and services in connection with the film
                                                                                    20   projects and investments. (Id.) They appear to simply represent the few
                                                                                    21   communications that Brown did not mind producing, either because of their
                                                                                    22   innocuousness, or because Plaintiffs were the sender or a recipient (and therefore
                                                                                    23   already had them):
                                                                                    24                   18 of the 25 e-mails are from March 2014 or later, after almost all
                                                                                    25                     of Plaintiffs’ money had already been converted and spent. 17 of
                                                                                    26                     these 18 e-mails involve plaintiff Bill Busbice (or Busbice’s
                                                                                    27                     representative, e.g., accountant) as a sender or recipient, and the
                                                                                    28                     only one that does not, is heavily redacted (without Plaintiffs’
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                                                                                           PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENTAL FILINGS RE: IN CAMERA REVIEW OF
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                                                                                     1                      consent);
                                                                                     2                   Of the seven e-mails that pre-date March 2014, five of them
                                                                                     3                      involve Busbice as a sender or recipient; and
                                                                                     4                   None of the 25 e-mails (or, for that matter, of the other documents
                                                                                     5                      produced by any other defendant) reflect that Brown performed any
                                                                                     6                      work or services in connection with the subject film investments.
                                                                                     7   (Id.)
                                                                                     8           Despite Brown’s and his co-defendants’ lack of disclosure and forthrightness,
                                                                                     9   Plaintiffs have obtained via subpoenas hundreds (if not thousands) of relevant e-
                                                                                    10   mails sent by Brown that Defendants failed to produce. Some of these e-mails are
                                                                                    11   particularly revealing:
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                                                                                    12                 Steven Brown to Stuart Manashil (an agent who received tens of
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                                                                                    13                   thousands of dollars of Plaintiffs’ money) on August 29, 2013: “When
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                                                                                    14                   we speak to david [Williams] let’s discuss which attorney u control &
                                                                                    15                   I mean really control who we can put in as our ‘barry’ [i.e., Barry
                                                                                    16                   Reiss] to rep bill busbice the oil tycoon”
                                                                                    17                 Steven Brown to Stuart Manashil on Jan 8, 2014 (less than a week
                                                                                    18                   after Defendants succeeded in fraudulently inducing Plaintiffs’ final $4
                                                                                    19                   million investment): “Between us, barry has kicked ass on busbice
                                                                                    20                   lawyer in nyc, this guy friedman who u’d hate Barry has been solid.
                                                                                    21                   He’s a pain but strong.”
                                                                                    22   (Prouty Decl., ¶¶ 6-7, Exs. C-D.)
                                                                                    23           All of the evidence before the Court proves that Defendant Brown is a co-
                                                                                    24   conspirator to the worst kind of fraud who was personally and unjustly enriched at
                                                                                    25   Plaintiffs’ expense to the tune of approximately $1 million. None of the evidence
                                                                                    26   satisfies Defendants’ burden of establishing that the hundreds of Brown e-mails that
                                                                                    27   they have withheld were ever privileged in the first place.
                                                                                    28           The record is clear that Brown was nothing more than a co-conspirator in the
                                                                                         25920862v1                                  -6-
                                                                                           PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENTAL FILINGS RE: IN CAMERA REVIEW OF
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                                                                                     1   fraud and its cover-up. The self-serving attempt to shroud the hundreds of e-mails
                                                                                     2   involving Brown with the attorney-client privilege is utterly without merit and the
                                                                                     3   Court need not conduct a searching review of these e-mails in order to order them
                                                                                     4   produced. But, in any event, both the record and the law are equally clear that, in
                                                                                     5   this case, the con-men Defendants that audaciously stole millions from Plaintiffs
                                                                                     6   were never entitled to the attorney-client privilege in the first place.
                                                                                     7
                                                                                     8   Dated: May 26, 2015                          Respectfully submitted,
                                                                                     9                                                TROUTMAN SANDERS LLP
                                                                                    10
                                                                                                                                      By: /s/ Thomas H. Prouty
                                                                                    11                                                  Paul L. Gale
                                                                                                                                        Thomas H. Prouty
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                                                                                                                                         Attorneys for Plaintiffs
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